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   1    CENTER FOR DISABILITY ACCESS
        Ray Ballister Jr., Esq., SBN 111282
   2    Phyl Grace, Esq., SBN 171771
        Russell Handy, Esq., SBN 195058
   3    Dennis Price, Esq., SBN 279082
        8033 Linda Vista Road, Suite 200
   4    San Diego, CA 92111
   5    (858) 375-7385; (888) 422-5191 fax
        phylg@potterhandy.com
   6    Attorneys for Plaintiff

   7                           UNITED STATES DISTRICT COURT
   8                          CENTRAL DISTRICT OF CALIFORNIA
   9    SAMUEL ZARIAN,                                    Case: 2:19-cv-10394-RGK-AGR
  10             Plaintiff,
  11      v.                                              Plaintiff’s Notice of Voluntary
                                                          Dismissal With Prejudice
  12    HESK, INC., a California
        Corporation; and Does 1-10,
  13
                 Defendants.                              Fed. R. Civ. P. 41(a)(1)(A)(i)
  14
  15
  16           PLEASE TAKE NOTICE that Plaintiff Samuel Zarian, hereby
  17   voluntarily dismisses the above captioned action with prejudice pursuant to
  18   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
  19           Defendant Hesk, Inc. has neither answered Plaintiff’s Complaint, nor
  20   filed a motion for summary judgment. Accordingly, this matter may be
  21   dismissed without an Order of the Court.
  22   Dated: April 29, 2020                  CENTER FOR DISABILITY ACCESS
  23
  24                                          By:     /s/ Phyl Grace
  25                                                  Phyl Grace
                                                      Attorneys for Plaintiff
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                     Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                  Federal Rule of Civil Procedure 41(a)(1)(A)(i)
